 

 

U.S. D§S'DZ§CT COURT
Case 3:18-mc-OOO45-D Document 1 Filed 06/29/18 Page S_ ofWTH§}§I§PD£' i.~\§CTOFTEXAS

 

 

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UNITED STATES DISTRICT COURT JU;\§ ,,L 2918
FOR THE NORTHERN DISTRICT OF TEX S

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

ARTHUR LAMAR ADAMS AND MADISON
TIMBER PROPERTIES, LLC

 

 

 

 

CLERK, U.S. DISTR§CT COURT

 

 

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NOTICE OF RECEIVERSHIP PURSUANT TO 28 U.S.C. §754 AND
REQUEST FOR THE ISSUANCE OF A MISCELLANEOUS CASE NUMBER

Pursuant to 28 U.S.C. § 754,77 Alysson L. Mills, the appointed Receiver in Securily and

Exchange Commission v. Arthur Lamar Aa'ams, et al., Southem District of Mississippi, Case No.

3:18-cv-00252-CWR-FKB, submits the attached Complaint, Exhibit l, and Order Appointing

Receiver, Exhibit 2, for filing in this Honorable Court as a miscellaneous action.

The Receiver respectfully requests that this Honorable Court assign a miscellaneous action

number to this matter and file the Complaint and Order Appointing Receiver accordingly

 

77 28 U.S.C. § 754 provides, “Such receiver shall, Within ten days after the entry of his order of
appointment, file copies of the complaint and such order of appointment in the district court for

each district in Which property is located.”

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Case 3:18-mc-OOO45-D Document 1 Filed 06/29/18 Page 2 of 30 Page|D 4

DATED: June 27, 2018

1337532v.1

Respectiially Submitted,

/s/Jason W. Burge

Brent B. Barriere, LA Bar No. 2818
Jason W. Burge, LA Bar No. 30420
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Counselfor Alysson L. Mills, appointed
Receiver in Security and Exchange
Commission v. Arthur Lamar Adams, et al.,
Southern District of Mississippi, Case No.

3 .‘ 1 8-cv-00252-CWR-FKB

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UNITED STATES DISTR}'CT COURT
SOUTHERN DISTR] CT OF MlSSISSIPI’I
NO.RTHER.N DIV§`SION

 

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

V' Case No. § 31 Q*C V»»Q§Q-L?W F 1467

ARTHHR LAMAR ADAMS AND
MADIS()N TIMBER PROPERTIES, LLC, JURY DEMAND

I)efendan£s,

 

 

C()MPLAINT

Plain_tii`f, Sccurities and Exchangc Commission (the “Commission”), nies its

complaint and alleges than
SUMMARY

l. Beginning in approximately 2904g Dc.t`endant A,rthur Lamar Adan:is
(“Adams”), through his wholly-owned company Madison Timber Properties, LLC
(“MT Properties”), committed securities fraud by operating a Ponzi Schemc.
Adams and MT Prcperties have raised at least 385 million from over 150 investors

in multiple states

 

 

 

 

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2. Adams told investors that their money would be used by MT
Properties to acquire timber-harvesting rights from various land owners on behalf
of investors The company allegedly would later harvest the timber and pay
investors with the profits In fact, Adams operated the venture as a Ponzi scheme,
paying earlier investors with funds obtained from newer investors. He also used
invested funds for a variety of inappropriate ends, including personal expenses and
to fund real estate investments

3. By the conduct detailed in this Complaint, Adams and MT Properties
violated Section l7(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. §
77q(a)], Section lO(b) of the Securities Exchange Act of 1934 (“Exchange Act”)
[15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5] thereunder. Unless l
enjoined, Adams and MT Properties are likely to commit such violations again in
the future.

4. The Commission seeks a judgment from the Court: (a) freezing
defendants’ assets pending final adjudication of the Commission’s claims; (b)
finding that Adams and MT Properties violated the antifraud provisions of the
federal securities laws; (c) enjoining Adams and MT Properties from engaging in
future violations of the antifraud provisions of the federal securities laws; (d)
ordering Adams and MT Properties to disgorge his ill-gotten gains described

herein, with prejudgment interest; and (e) ordering Adams and MT Properties to

 

 

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pay a civil monetary penalty pursuant to Section 20(d) of the Securities Act [15
U.S.C. § 77t(d)] and Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)].
JURISDICTION AND VENUE

5. The Commission brings this action pursuant to Sections 20(b) and
20(d) of the Securities Act [15 U.S.C. §§ 77t(b) and 77t(d)] and Section 21(d) the
Exchange Act [15 U.S.C. § 78u(d)].

6. The Court has jurisdiction over this action pursuant to Sections 20(b),
20(d) and 22(a) of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d), and 77v(a)], and
Sections 21(d), 21(e), and 27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e),
and 7saa].

7. Adams and MT Properties, directly or indirectly, used the means or
instruments of interstate commerce, the mails, or the facilities of a national
securities exchange in connection with the acts described herein.

8. Venue is proper under Section 22 of the Securities Act [15 U.S.C. §
77v], Section 27 of the Exchange Act [15 U.S.C. § 7Saa] and 28 U.S.C. § 1391
because a substantial part of the events or omissions giving rise to the claims made
herein occurred in the Southern District of Mississippi. In addition, Adams resides
in, and MT Properties has its principal place of business in, Madison MS, which is

within the Southern District.

 

 

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DEFENDANTS

9. Arthur Lamar Adams, age 58, lives in Madison, Mississippi. He is
the founder and president of MT Properties

10. Madison Timber Properties, LLC is a Mississippi limited liability
company that has its principal place of business in Madison, Mississippi. lt is
wholly-owned by Adams.

STATEMENT OF FACTS

l 1. MT Properties purports to be a timber harvesting company.

12. Starting in at least 2604, Defendants began raising funds through the
sale of promissory note investments The sale of these promissory notes has
continued until April 19, 2018.

13. In general, the promissory notes are for a one-year period and offer an
annual return of 12%-15%, which is paid back over the course of the year. At the
end of the year, investors can either have their principle returned or rolled over into
a new investment

14. When soliciting investors, Defendants told investors that MT
Properties would use the funds to secure and harvest timber from specific tracts of
land that owned by third parties. The tracts of land were usually located in

Alabama, Florida, or Mississippi.

 

 

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15. Defendants also told investors that they would generate the
investment returns from the sale of the harvested timber. Finally, many investors
were told that they had the sole rights to the specific land tracks, and that no one
else would be able to harvest the timber on that land.

16. The Proposed Defendants raised at least $85,000,000 through the sale
of these securities to approximately 150 investors located primarily in the
southeastern United States.

17. As part of this “Timber Scheme” the Proposed Defendants provides
the investor with a (l) promissory note; (2) timber deed and cutting agreement; (3)
security agreement; (4) tract summary that includes the value of the timber on the
property; and (5) a title search certificate

18. MT Properties never obtained the harvesting rights to the land as
claimed. In most cases, Adams forged the timber deed and cutting agreements
Adams also forged the documents purportedly showing the value of the timber on
the land tracks. Further, Adams would pledge the same land tracts (which he did
not actually have the rights to) to multiple parties. Finally, in most cases, the
specific land tracks did not have the value of timber as promised or did not in fact
have any harvestable timber.

19. Instead of using the investor funds generated by the Timber Scheme

to acquire timber rights and harvest the timber, Adams used the funds for his own

 

 

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benefit Additionally, Adams began constructing real estate developments near
Oxford and Starkville, Mississippi. Investors were not told about this real estate
development and had no knowledge that their funds would be used support it.
Further, the investors have no legal interest in the real estate developments
20. In addition, Defendants used funds from new investors to pay the
returns owed to existing investors
QQUNT_I - FRAUD IN THEW_S_

Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
[15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b-5]

21. The Commission realleges and reincorporates paragraphs l through
20 as if fully set forth herein.

22. Since approximately 2004, Defendants, in connection with the
purchase or sale of securities, by use of means or instrumentalities of interstate
commerce or of the mails, or of any facility of any national securities exchange,
directly or indirectly:

(a) made untrue statements of material facts and omitted to state
facts necessary to make the statements made, in light of the circumstances
under which they were made, not misleading; or

(b) engaged in acts, practices or courses of business which

operated or would operate as a fraud or deceit.

 

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23. Defendants’ misrepresentations omissions and acts practices or
courses of business which operated as a fraud or deceit were material

24. Defendants acted with scienter by knowingly or with severe
recklessness making the above-referenced misrepresentations and omissions and
engaging in acts practices or courses of business which operated as a fraud or
deceit.

25. By reason of the actions alleged herein, Defendants violated Section
10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17
C.F.R. § 240.10b-5].

COUNT II -FRAUD IN THE OFFER OR SALE OF SECURITIES
Violations of Section l7(a) of the Securities Act
[15 U.S.C. § 77q(a)(l)]

26. The Commission realleges and reincorporates paragraphs l through
20 as if fully set forth herein.

27. Since approximately 2004, Defendants, directly or indirectly, in the
offer or sale of securities by use of any means or instruments of transportation or
communication in interstate commerce or by use of the mails employed a device,
scheme or artifice to defraud

28. Def`endants’ misrepresentations omissions and acts practices or

courses of business which operated as a fraud or deceit were material

 

 

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29. Defendants acted with scienter by knowingly or with severe
recklessness making the above-referenced misrepresentations and omissions and
engaging in acts practices or courses of business which operated as a fraud or
deceit. Defendants also acted negligently

30. By reason of the actions alleged herein, Defendants violated Section
l7(a) of the Securities Act [15 U.S.C. § 77q(a)].

BAYE_B FOR R]_E_`.LIEF

WHEREFORE, the Commission respectfully requests that the Court enter a

judgment:

(i) finding that Defendants violated the antifraud provisions of the federal
securities laws as alleged herein; l

(ii) permanently enjoining Defendants from violating Section l7(a) of the
Securities Act [15 U.S.C. § 77q(a)], Section 10(b) of the Exchange Act [15 U.S.C.
§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

(iii) freezing defendants’ assets expediting discovery and preventing the
destruction of documents pending resolution of this litigation

(iv) ordering Defendants to disgorge their ill-gotten gains and to pay

prejudgment interest thereon;

 

 

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(v) ordering Defendants to pay a civil monetary penalty pursuant to Section

20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d) of the Exchange

Act [15 U.s.C. § 78u(d); and

(vi) granting such other relief as this Court may deem just and proper.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the

Commission demands trial by jury in this action of all issues so triable.

Dated this 20th day of April, 2018.

Respectfully submitted,

S/ W. Shawn Murnahan

W. Shawn Murnahan

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COUNSEL FOR PLAINTIPF
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provided by local rules of_coun. This form, approved by the Judicial Con erence ofthe nited States in eptember 1974, is required for the use of the lerk of Coun for the
purpose of initiating the civil docket sheet. (SEE INSTRUC”ONS ON NEXTPAGE OF THlS FORM.)

i. (a) PLAiNTiFFs DEFENDANTS

U.S. Securities and Exchange Commission ARTHUR LAMAR ADAMS AND MAD|SON TlMBER PROPERT|ESl
950 East Paoes Ferry Road, N.E., Suite 900, At|a -.~,~ ` ' ‘ '

(b) County of Residence of First Listed Plaintii`i`
(EXCEFT]N U.S. PLAINTIFF CASE

 

     
   
   
     
        
 

 
 

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o n N|. Co|ette. 109 E. Capito| Street, Suite 475, Jackson, MS 39201

 

 

 

 

 

((3 Atiol'neys (F inn Name, Addr¢ss, and Telephane Number) '- m¢yS (IfKuown)
W. hawn Mumahan (ph: 404-842-7669), M. Gra gm Lo

U.S. Securities and Exchange Commission

 

 

950 East Paces Fen'y Road, N.E., Suite 900, Atlanta. GA 30324 (601) 335-6277
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Ci\e the U.S. Civil Statute under which you are filing (Do nol cite jurisdictional slalulex unless diversity):

vl. CAUSE OF AC,"ON 15 U.S.C. § 77g_1a|l 15 U.S.C. § 78“b}l and 17 C.F.R. § 240.10b-5

 

 

 

 

 

 

 

 

Brief` description of cause:
Violations of the antifraud provisions of the federal securities laws
Vll. REQUESTED lN D CHECK lF TH|S lS A CLASS ACTlON DEMAND $ CHECK YES only if demanded in complaint
C()MPLA[NT; UNDER RULE 23, F.R.Cv.P. JURY DEMAND: g Yes DNo
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No. 3:18-CV-00252-CWR-FKB

SECURITIES & EXCHANGE Coiviiviissioi\i,
Plaintiff,

ARTHUR LAMAR ADAMs,
et al.,
Defendants.

ORDER APPOINTING RECEIVER

Before CARLTON W. REEvi-;s, District ]udge.

Defendants engaged in a multi-million dollar Ponzi scheme
that defrauded hundreds of investors This order appoints a
receiver to manage Defendants’ estates and describes the
scope of receivership

Thirty applicants submitted receivership applications to the
Court. This pool of men and Women Was extremely impres-
sive and unusually diverse. Applicants included lawyers

 

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(ranging from solo practitioners to partners in law firms
larger than any in Mississippi), accountants, academics, and
other professionals from a dozen states across the country.
Out-of-state applicants recognized the talents of Mississippi
attorneys by proposing substantive alliances With them. The
Secretary of State Was right to support an open application
process, Without Which many Would never have had the op-
portunity to reveal their talents to this Court. Applicants of-
fered compelling reasons for their appointment The breadth
and depth of their experiences made this Court's choice a dif-
ficult one.

The Court considered many factors When screening applica-
tions. A number of applicants lacked the appropriate profes-
sional experience for this case. Some With the right experience
proposed hourly rates that Were too high to justify, including
rates of over $1,000 an hour. Others proposed to Work With
partner professionals less qualified than others in the pool.
Occasionally, applicants or the firms they partnered With had,
in practicing before this Court, demonstrated that they are un-
suited to serve as a receiver.

Nearly all candidates, however, proposed laudable and bold
steps to ensure that their recruitment and retention policies
Were inclusive. The Court Was particularly impressed With
members of the Mississippi bar Who crossed long-established
lines to forge entrepreneurial partnerships The diversity of
the applicant pool and the creativity of the respective pro-
posals is Worth noting.

Encouraging diversity in the judiciary is not a cure-all for the
lack of that feature in the broader legal profession Nor is en-
couraging diversity destined to result in true representation,

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rather than tokenism masquerading as such. Nevertheless, in
order to do justice, the judiciary must incorporate a Wide ar-
ray of experiences, facts, and perspectives into its deci-
sionmaking processes - including the decisionmaking pro-
cess of receivers, Who act as extensions of the courts. When
courts hire and appoint individuals to assist in their mission,
they must ensure those opportunities are extended to all
Whom the judiciary serves. As this case proves, doing so en-
hances - rather than diminishes - the quality of the applicant
pool.

Of all the candidate qualifications the Court took into account,
perhaps the most important Was the ability to exercise disin-
terested and informed judgment This case involves What
may be the largest Ponzi scheme in Mississippi’s history, one
in Which many Mississippi residents and entities are entan-
gled. Mississippi is a small state. The Receiver and her staff
must be close enough to the state to understand its Workings.
But the Receiver must also be distant enough to preserve her
impartiality, a key trait in a process that may involve clawing
back funds from the connected and powerful Many other-
Wise capable candidates Were unequipped to navigate the real
and apparent conflicts of interest their appointment Would
create.1

After Weighing the applicants’ professional experience,
hourly rates, candor, judgment, and other qualifications, the
Court believes that Alysson L. Mills, a member of the Missis-
sippi bar and partner at the Louisiana firm of Fishman

 

1 This should come as no surprise to the parties, given their discussion of
a specific candidate's conflicts of interest at the hearing on this matter.

 

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Haygood, LLP, is best suited to be Receiver. Mills is a gradu-
ate of the University of Mississippi School of Law, and clerked
for Fifth Circuit ]udge E. Grady ]olly. She has extensive fed-
eral court experience, including representation of bankruptcy
trustees and securities purchasers in suits involving fraud and
mismanagement She has authored Supreme Court briefs and
frequently argues in the Fifth Circuit.

Mills has proposed an experienced team of lawyers from Fish-
man Haygood to serve as her counsel, including individuals
who have handled matters involving Ponzi schemes, complex
bankruptcy disputes, and securities arbitration. Her team has
represented individuals, companies, pension funds, hospi-
tals, cities, and states Firm partner Brent B. Barriere’s experi-
ence makes him particularly qualified to serve as primary
counsel to the Receiver. Most team members Will bill at rates
not to exceed $275 an hour, While two partners will bill at
rates not to exceed $325 an hour.

The Court is satisfied that Mills has the experience, judgment,
and talent to perform the duties and responsibilities of a re-
ceiver and act as an officer of the Court Therefore, it is hereby
ORDERED that Alysson L. Mills is appointed to serve with-
out bond as Receiver for the estate of the Receivership De-
fendants, Arthur Lamar Adams and Madison Timber Proper-
ties, LLC. The Receiver shall take possession of the entirety of
the Receivership Defendants’ assets The Receiver is author-
ized to retain the services of Fishman Haygood, LLP and
other appropriate professionals The scope of receivership is
as follows

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I
General Powers & Duties of Receiver

The Receiver shall have all powers, authorities, rights, and
privileges now possessed by the officers, managers, and in-
terest holders of and relating to the Receivership Defendants,
in addition to all powers and authority of a receiver at equity
under all applicable state and federal law in accordance the
provisions of 28 U.S.C. §§ 754, 959, and 1692, and Fed. R. Civ.
P. 66, and shall assume and control the operation of the Re-
ceivership Defendants and shall pursue and preserve all of
their claims

No person holding or claiming any position of any sort with
the Receivership Defendants shall possess any authority to act
by or on behalf of the Receivership Defendants, with the ex-
ception that attorneys representing Defendant Adams in U.S.
z). Adams, Case No. 3:18-CR-0088-CWR-LRA (S.D. Miss) may
continue their representation

The Receiver and her agents, acting within the scope of such
agency as Retained Personnel, are entitled to rely on all out-
standing rules of law and Orders of this Court and shall not
be liable to anyone for their own good faith compliance With
any order, rule, law, judgment, or decree. In no event shall the
Receiver or Retained Personnel be liable to anyone for their
good faith compliance with their duties and responsibilities
as Receiver or Retained Personnel, nor shall the Receiver or
Retained Personnel be liable to anyone for any actions taken
or omitted by them except upon a finding by this Court that
they acted or failed to act as a result of malfeasance, bad faith,
gross negligence, or in reckless disregard of their duties

 

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The Receivership Defendants shall indemnify, defend, and
hold harmless the Receiver and the Retained Personnel from
and against all actions (pending or threatened and whether at
law or in equity in any forum), liabilities damages losses
costs and expenses including but not limited to reasonable
attorneys’ and other professionals’ fees arising from conduct
or omission of the Receiver and the Retained Personnel under
the terms of this Order, except for any such conduct or omis-
sion adjudged by this Court to be the result of gross negli-
gence or willful misconduct

Subject to the specific provisions below, the Receiver shall
have the following general powers and duties:

(1) to use reasonable efforts to determine the nature,
location, and value of all property interests of the Re-
ceivership Defendants including but not limited to
monies funds securities credits effects goods chat-
tels lands premises leases claims rights and other as-
sets together With all rents profits dividends interest
or other income attributable thereto, of whatever kind
and description, Wherever located, which the Receiv-
ership Defendants own, possess have a beneficial in-
terest in, or control directly or indirectly (”Receiver-
ship Property" or, collectively, the ”Receivership Es-
tate”), including, but not limited to, (i) the following
bank accounts: First Bank of Clarksdale, Account No.
7315736, Southern Bancorp Account Nos. 6454774,
6454367, and 6454359, and River Hills Bank Account
No. 6755060 and (ii) Defendant Adams’ principal resi-
dence located at 134 Saint Andrews Drive, ]ackson,
Mississippi, 39211;

 

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(2) to use reasonable efforts to determine the nature
and location of the books and records client lists ac-
count statements financial and accounting documents
computers computer hard drives computer disks in-
ternet exchange servers, telephones personal digital
devices and other informational resources of whatever
kind and description, wherever located, in possession
of the Receivership Defendants or issued by the Re-
ceivership Defendants and in possession of third par-
ties (”Receivership Records”),'

(3) to take custody, control, and possession of all Re-
ceivership Property, Receivership Records, and any as-
sets traceable to assets owned by the Receivership Es-
tate; and, with prior approval of this Court upon ex
parte request, institute such actions or proceedings to
impose a constructive trust, to sue for and collect, re-
cover, receive or take into possession from third parties
all Receivership Property, Receivership Records, and
any assets traceable to assets of the Receivership Es-
tate;

(4) to manage, control, operate, and maintain the Re-
ceivership Estate and hold in her possession, custody,
and control all Receivership Property, pending further
Order of this Court;

(5) to open bank accounts for the Receivership Defend-
ants,'

(6) to use Receivership Property for the benefit of the
Receivership Estate, making payments and disburse-
ments and incurring expenses as may be necessary or

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advisable in the ordinary course of business in dis-
charging her duties as Receiver,'

(7) to take any action which, prior to the entry of this
Order, could have been taken by the officers manag-
ers and agents of and relating to the Receivership De-
fendants,' including the termination of any personnel
that the Receiver deems appropriate,'

(8) to terminate any and all leases of the Receivership
Defendants’ personal or real property, or to sell any of
the Receivership Defendants’ personal or real prop-
erty;

(9) to access all of the Receivership Defendants’ bank
accounts securities accounts and IT systems;

(10) to collect any management or advisory fees due
and owing to the Receivership Defendant,'

(11) to produce Receivership Defendants’ records and
to share information as reasonably requested with the
staff of the Commission Without a subpoena;

(12) With this Court's approval, to engage and employ
persons in her discretion to assist her in carrying out
her duties and responsibilities hereunder, including
but not limited to accountants attorneys securities
traders registered representatives financial or busi-
ness advisers liquidating agents real estate agents fo-
rensic experts brokers traders or auctioneers;

(13) to take such action as necessary and appropriate
for the preservation of Receivership Property or to pre-
vent the dissipation or concealment of Receivership

Property;

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(14) to obtain, by presentation of this Order, docu-
ments books records accounts deposits testimony,
or other information within the custody or control of
any person or entity sufficient to identify accounts
properties assets liabilities or agents of and relating
to the Receivership Estate or Receivership Defendants;

(15) without further order of this Court, to issue sub-
poenas for documents and testimony consistent with
the Federal Rules of Civil Procedure,'

(16) to investigate and, following this Court's approval
upon ex parte request, to bring such legal actions based
on law or equity in any state, federal, or foreign court
as the Receiver deems necessary or appropriate in dis-
charging her duties as Receiver;

(17) following this Court's approval upon ex parte re-
quest, to file a petition in bankruptcy for either or both
the Receivership Defendants if the Receiver deter-
mines it to be necessary,' and

(18) to take such other action as may be approved by
this Court.

II
Duty to File Recommendation & Report

Within 60 days the Receiver shall file a report With the Court
as to the status of the Receivership Estate. Such report shall
include:

(1) a description of all known assets of the Receivership
Estate, their location, and to the extent possible, the Re-
ceiver’s good faith estimate of the value of those assets;

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(2) a list of secured creditors and other financial insti-
tutions with an interest in the Receivership Estate;

(3) to the extent practicable, a list of investors in the se-
curities sold by the Receivership Defendants'

(4) any other known liabilities of the Receivership Es-
tate,'

(5) the Receiver's preliminary plan for the administra-
tion of the Receivership Estate, including a recommen-
dation regarding whether bankruptcy cases should be
filed for all or a portion of the assets subject to the re-
ceivership, a recommendation as to the appropriate-
ness of forfeiture proceedings for any assets subject to
the receivership, and a recommendation as to whether
litigation against third parties should be commenced
on a contingent fee basis to recover assets for the ben-
efit of the receivership;

(6) to the extent not provided in response to the prior
subject matters the Receiver's preliminary recommen-
dation as to the most reasonable and efficient methods
for recovery, liquidation, and distribution of the Re-
ceivership Estate;

(7) the Receiver's recommendation as to whether the
receivership created by this Order should be continued
and the benefits of any such action; and

(8) any additional information that the Receiver deems
relevant

Upon consideration of this report, the Court shall consider
Whether to terminate the receivership or order such other re-
lief as it deems appropriate.

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III
Injunction Against Interference With Receiver

The Receivership Defendants and all persons receiving notice
of this Order by personal service, facsimile, or otherwise, are
hereby restrained and enjoined from directly or indirectly tak-
ing any action or causing any action to be taken, without the
express written agreement of the Receiver, which would:

(1) interfere with the Receiver's efforts to take control,
possession, or management of any Receivership Prop-
erty; such prohibited actions include but are not lim-
ited to, using self-help or executing or issuing or caus-
ing the execution or issuance of any court attachment,
subpoena, replevin, execution, or other process for the
purpose of impounding or taking possession of or in-
terfering with or creating or enforcing a lien upon any
Receivership Property;

(2) hinder, obstruct, or otherwise interfere with the Re-
ceiver in the performance of her duties; such prohib-
ited actions include but are not limited to concealing,
destroying, or altering records or information,'

(3) dissipate or otherwise diminish the value of any Re-
ceivership Property,' such prohibited actions include
but are not limited to releasing claims or disposing,
transferring, exchanging, assigning, or in any Way con-
veying any Receivership Property, enforcing judg-
ments assessments or claims against any Receivership
Property or any Receivership Defendant, attempting to
modify, cancel, terminate, call, extinguish, revoke, or
accelerate the due date of any lease, loan, mortgage, in-
debtedness security agreement, or other agreement

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executed by any Receivership Defendant or which oth-
erwise affects any Receivership Property; or

(4) interfere with or harass the Receiver, or interfere in
any manner with the exclusive jurisdiction of this
Court over the Receivership Estate.

The Receivership Defendants and their past or present offic-
ers managers and agents and all persons in active concert or
participation with them, including any financial institution,
shall provide the Receiver immediate access to and control
and possession of Receivership Records and the Receivership
Estate’s assets including securities and property of any kind,
real and personal, as well as all keys passwords, entry codes
and the original of all books records documents accounts
computer printouts disks and the like.

The Receivership Defendants shall cooperate with and assist
the Receiver in the performance of her duties including by
promptly acknowledging to third parties the Receiver's au-
thority to act on behalf of the Receivership Estate and by
providing such authorizations signatures releases attesta-
tions and access as the Receiver may reasonably request

The Receiver shall promptly notify the Court and the Com-
mission of any failure or apparent failure of any person or en-
tity to comply in any way with the terms of this Order,

IV
Stay of Litigation

The following Ancillary Proceedings, excluding the instant
proceeding and all police or regulatory actions and actions of
the Commission related to the above-captioned enforcement
action, are stayed until further Order of this Court: all civil

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legal proceedings of any nature, including but not limited to
bankruptcy proceedings arbitration proceedings foreclosure
actions default proceedings or other actions of any nature in-
volving:

(1) the Receiver, in her capacity as Receiver,'
(2) any Receivership Property, wherever located ;

(3) any of the Receivership Defendants including sub-
sidiaries and partnerships or

(4) any of the Receivership Defendants’ or Receiver-
ship Estate's past or present officers directors manag-
ers agents or general or limited partners sued for, or
in connection with, any action taken by them While act-
ing in such capacity of any nature, whether as plaintiff,
defendant, third-party plaintiff, third-party defendant,
or otherwise,

The parties to any and all Ancillary Proceedings are enjoined
from commencing or continuing any such legal proceeding,
or from taking any action, in connection with any such pro-
ceeding, including but not limited to the issuance or employ-
ment of process

All Ancillary Proceedings are stayed in their entirety, and all
Courts having any jurisdiction thereof are enjoined from tak-
ing or permitting any action until further Order of this Court.
Further, as to a cause of action accrued or accruing in favor of
one or more of the Receivership Defendants against a third
person or party, any applicable statute of limitation is tolled
during the period in which this injunction against commence-
ment of legal proceedings is in effect as to that cause of action,

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These provisions bar any person or entity, other than the Re-
ceiver, from placing either of the Receivership Defendants in
bankruptcy proceedings

V
Receiver Compensation

The Receiver is to be paid her reasonable compensation and
expense reimbursement from the Receivership Estate. Such
compensation and expense reimbursement shall require the
prior approval of this Court.

Within 30 days after the end of each full month while the Re-
ceivership is in effect, the Receiver shall apply to this Court
for compensation and expense reimbursement from the Re-
ceivership Estate through Monthly Fee Applications
Monthly Fee Applications shall contain representations that:
(i) the fees and expenses included therein were incurred in the
best interests of the Receivership Estate,' and (ii) with the ex-
ception of her Receivership application, the Receiver has not
entered into any agreement written or oral, express or im-
plied, With any person or entity concerning the amount of
compensation paid or to be paid from the Receivership Estate,
or any sharing thereof.

Monthly Fee Applications will be interim and will be subject
to cost-benefit and final reviews at the close of the receiver-
ship. At the close of the receivership, the Receiver will file a
final fee application, describing in detail the costs and benefits
associated with all litigation and other actions pursued by the
Receiver during the course of the receivership

Monthly Fee Applications may, in the Court's discretion, be
subject to a holdback in the amount of 25% of the amount of

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fees and expenses for each application filed with the Court
The total amounts held back during the course of the receiv-
ership will be paid out at the discretion of the Court as part of
the final fee application submitted at the close of the receiver-
ship.

At the close of the receivership, the Receiver shall submit a
Final Accounting, in a format to be provided by Commission
staff, as well as the Receiver's final application for compensa-
tion and expense reimbursement

This Order supersedes prior orders of this Court only to the
extent they conflict

SO ORDERED, this the 22nd day of ]une, 2018.

s[ CARLToN W. REEvEs
United States District judge

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Fishman aygood

 

Fishman Haygood LLP
201 St. Char|es Avenue, Suite 46oo Jason W. Burge
New Or|eans, LA 70170 partner

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jburge@fishmanhaygood.com

June 27, 2018

United States District Court
Northern District of Texas

Clerk of Court

United States Courthouse

1100 Commerce Street, Room 1452
Dallas, TX 75242

Re: Securities and Exchange Commission v. Arthur Lamar Adams and Madison
Timber Properties LLC, Southern District of Mississippi Case No. 18-cv-252

To the Clerl< of Court,

Our office represents Alysson L. Mills the appointed Receiver in the above-referenced
action brought by the Securities and Exchange Commission.

Pursuant to 28 U.S.C. § 754, the Receiver hereby files the enclosed Notice of Receivership
and Request for the Issuance of a Miscellaneous Case Number, attaching as exhibits (1) a copy of
the complaint and (2) a copy of the order appointing receiver. Please open a new miscellaneous
case in your district using the caption on the attached document

Also enclosed are a check in the amount of $47.00 for the filing fee and a return Federal
Express label With an envelope to return a Stamped copy to us

Thank you for your assistance Please contact me if you have any questions

Cordially,
/s/Jason W. Burge

Jason W. Burge
JWB/rh

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